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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLORADO

    Civil Action No. 21-cv-01073-CMA-CPG
    ____________________________________________________
    VIDEOCONFERENCE DEPOSITION OF        August 28, 2023
    LARI MASTEN
    ____________________________________________________
    THE AARON H. FLECK REVOCABLE TRUST, through its
    Trustees Aaron H Fleck and Barbara G. Fleck,
    THE BARBARA G. FLECK REVOCABLE TRUST, through its
    Trustees, Aaron H. Fleck and Barbara G. Fleck,
    AARON FLECK, and BARBARA G. FLECK,
                   Plaintiffs,
    vs.
    FIRST WESTERN TRUST BANK, CHARLES BANTIS,
    and ANDREW GODFREY,

                   Defendants.

    ____________________________________________________

             The deposition of LARI MASTEN, taken before
    Leeann Stellor, a Registered Merit Reporter,
    Certified Realtime Reporter, and a Notary Public in
    and for the County of Summit and the State of
    Colorado, via Zoom videoconference, on Monday,
    August 28, 2023, at the hour of 9:02 a.m.




                                                                    Ex. B
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 1      A. April of 2023.                                    1   provided a rebuttal report on June 15, 2023,
 2      Q. Who contacted you?                                2   rebutting your May 15, 2023 report?
 3      A. Rich Podoll.                                      3       A. I am not.
 4      Q. What did he tell you about the case?              4       Q. Is it fair to say that Mr. Ahern's April
 5      A. I don't recall the specifics, but just            5   2022 report did not form any of the basis and was
 6   generally discussing that he had a client who had       6   not taken into consideration by you in forming any
 7   some claims, that he needed some damages amounts        7   of your opinions contained in your April 15, 2023
 8   calculated, that there were other experts involved,     8   report?
 9   liability experts on specific matters, and that he      9       A. In my May 15 report of 2023, that's
10   wanted to retain me to look at the complaint and       10   correct. I had not seen his report. I was unaware
11   assess damages based on what is represented in the     11   of his involvement in the case.
12   other expert reports.                                  12       Q. Did reading his report -- let me withdraw
13      Q. You're aware that John Ahern from the            13   that.
14   Alvarez & Marsal firm has prepared one or more         14                I assume that since receiving it
15   reports in this case, correct?                         15   in the last four days, you had an opportunity to
16      A. I was not aware until four days ago that         16   read it, Mr. Ahern's report?
17   he had written a report, and I am aware that he        17       A. I did.
18   issued a report in April of 2022.                      18       Q. And did that cause you to reconsider any
19      Q. So you have seen Mr. Ahern's April 2022          19   of your opinions?
20   report?                                                20       A. No.
21      A. I have.                                          21       Q. Did it cause you to think that you needed
22      Q. Okay. But you had not seen it when you           22   to do any additional work?
23   issued your May 15, 2023 report?                       23       A. No.
24      A. That's correct.                                  24       Q. Okay. Have you been asked to provide any
25      Q. Are you even aware that Mr. Ahern                25   kind of a response to Mr. Ahern's report?

                                                Page 8                                                      Page 9
 1       A. No, not as of this time.                         1       Q. Do you teach?
 2       Q. Have you been asked as of this time to do        2       A. Yes, I do.
 3   any further work in this matter, other than             3       Q. And where do you teach?
 4   potentially testifying here in your deposition and      4       A. I teach several credentialing courses for
 5   possibly at a trial?                                    5   national and international organizations, both on
 6       A. Not at this time.                                6   business valuation and forensic, financial
 7       Q. All right. Now, the entity that was              7   forensics. So I'm a lead instructor in the National
 8   retained in this matter is called Masten Valuation;     8   Organization of Certified Valuation Analysts, so I'm
 9   is that right?                                          9   a lead instructor there for them there for two types
10       A. That's correct.                                 10   of courses that lead to credentials. One credential
11       Q. What is the business of Masten Valuation?       11   is the Certified Valuation Analyst Credential and
12       A. We're a forensic accounting firm. We            12   the other credential is the Master Analyst in
13   generally do anything involved with litigation.        13   Financial Forensics credential.
14   Part of our practice is doing valuation for other      14               I also teach internationally as
15   purposes, gift and estate purposes, you know,          15   well for other organizations who have forensic
16   divorce cases, anything mostly related to              16   accounting and valuation credentials. I'm an
17   litigation. Some of it is just regular compliance.     17   adjunct with University of Denver as well.
18       Q. It appears from your bio in the CV that         18       Q. In what area?
19   you provided, that your primary area of expertise is   19       A. The teaching of business valuation cap
20   in business valuation; is that true?                   20   storm -- capstone course to their master's in
21       A. I'm -- I'm deeply rooted in business            21   accounting majors, but there's finance majors that
22   valuation. But as far as practice cases, I would       22   also take that course.
23   say only 10 or 15 percent really are valuation         23       Q. So the teaching is in the valuation area?
24   centric. More of it is forensic accounting and         24       A. Valuation and financial forensics. So
25   damages work.                                          25   I'm also an instructor on the MAFF, Master Analyst

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 1   in Financial Forensics, team.                           1   tax practitioner with them for several years. And
 2       Q. And what does that mean? What does that          2   then I developed an interest in doing forensic
 3   entail?                                                 3   accounting and litigation work, and then for the
 4       A. It's taking forensic accounting, business        4   last almost 25 years had a pure focus on just the
 5   valuation, fraud detection, you know, all types of      5   forensic accounting and litigation areas.
 6   areas of practice expertise, and the focus is in a      6       Q. So when did you get your undergraduate
 7   litigation environment; you know, how you handle the    7   degree?
 8   processes, doing the actual calculations, you know,     8       A. Gosh, I believe my undergraduate was
 9   best practices, those types of things. But it's         9   1990.
10   basically a fundamentals course leading to the         10       Q. From where?
11   credential.                                            11       A. Texas Tech University.
12       Q. Is Masten Valuation basically an expert         12       Q. In what?
13   witness firm, providing expert work in litigation      13       A. It was engineering and education, a
14   and valuation matters?                                 14   combined dual degree. Electrical engineering and
15       A. Yes, generally. We do not do any                15   secondary education.
16   traditional accounting, if that's what you're          16       Q. All right. And then your master's is in
17   asking.                                                17   accounting?
18       Q. What is your education?                         18       A. That's correct.
19       A. I have a master's degree in accounting.         19       Q. And when did you get that?
20   My undergraduate and graduate degrees are different.   20       A. I don't recall my year of graduation.
21   But my end, my terminal, I guess, degree is focused    21   It's just not something that I keep track of. I
22   on audit and accounting.                               22   believe it was like '94 or '95. It took a while
23                And so my initial starting in my          23   because my undergraduate was not in accounting, so
24   career, I started with Coopers before they merged      24   it wasn't a typical 36-hour master's program. I
25   with PricewaterhouseCoopers. I was an auditor and      25   wound up having to take an additional 127 hours of

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 1   college credit courses to get the master's.             1   attorneys needed it simply because their claims were
 2      Q. Where did you get your master's from?             2   being excluded, you know, from a legal perspective.
 3      A. Texas Tech University.                            3       Q. Okay. But has your testimony ever been
 4      Q. And those are -- so you have a BS degree          4   excluded under Daubert in a federal court?
 5   and a master's in accounting. Is that the extent of     5       A. Not to my knowledge.
 6   your degrees?                                           6       Q. Do you recall the Knudson versus Walker &
 7      A. That's correct.                                   7   Associates case in 2005 in Judge Figa's court?
 8      Q. Has your testimony in a case ever been            8       A. Yes, I do.
 9   excluded by a court under the Daubert line of cases?    9       Q. Isn't it true that your testimony was
10      A. Not -- I know there's certain portions of        10   excluded in that case under Daubert?
11   my opinions that have been excluded. But to my         11       A. I don't recall the purpose of -- I don't
12   knowledge, I've never been fully excluded.             12   recall the outcome of that and how it was excluded.
13      Q. How many times has a court excluded a            13   But I do know the directive I was given from the
14   portion of your proposed testimony on the basis of     14   attorneys was not in line with their claims in that
15   Daubert?                                               15   case.
16      A. Well, if you're using Daubert -- and             16       Q. Isn't it true that in that case your
17   these have been state court cases, so it's not         17   testimony was excluded because you testified about
18   necessarily Daubert. But it's just been two or         18   valuation of the wrong subject matter?
19   three times portions of my report have been            19       A. I can give you some details about that
20   excluded.                                              20   case. It sounds like you've read it. But there
21               And generally those have been              21   were assets involved, and the directive I was given
22   excluded because the areas of opinions that I was      22   was to value the business, the collective of the
23   giving from a legal perspective, those were            23   assets, and the focus of that case was specific
24   dismissed or rea -- you know, the court -- it wasn't   24   assets.
25   useful to the court for the purpose that the           25               And for that reason, the judge

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 1   longest, if you collectively looked at everything,      1   so to, you know, use that as a -- kind of a
 2   I've probably, from a singular firm standpoint, have    2   framework. But generally looking at the complaints
 3   done more work for the Podolls than any other single    3   that were there and investigating on a monetary
 4   firm. But I -- I can't confirm that because I've        4   standpoint of what damages stem from what was being
 5   not run any of those statistics.                        5   complained about.
 6       Q. Have you ever taken an engagement where          6      Q. And just so that I'm clear. When you
 7   the Podoll firm was on the other side?                  7   were hired to be the damages expert for the
 8       A. I don't believe so.                              8   plaintiffs in this case, you were not told that
 9       Q. All right. So when you were contacted in         9   there was a damages expert on behalf of the
10   April of this year by Mr. Rich Podoll, what was your   10   defendants who had provided a report a year earlier?
11   assignment?                                            11      A. I was not -- as I told you earlier, I was
12       A. I believe we discussed that already. But        12   not aware that Mr. Ahern was involved. I asked for
13   generally, he wanted me to look at the case facts,     13   any expert reports. I do know at the time that I
14   read the complaint, read the reports that have been    14   was hired there were other matters that the Podolls
15   written by the liability experts, and quantify areas   15   were dealing with.
16   of damages that have been identified.                  16                But yeah, I -- I asked for any
17       Q. So you were being hired as a damages            17   reports. And at that time the reports that I had --
18   expert in this case?                                   18   I believe there were two reports, Mr. Reidy and
19       A. That's correct.                                 19   Mr. Rulison, that I had access to.
20       Q. And you were being asked to quantify the        20      Q. So you asked for all the expert reports,
21   damages as set forth or described in the complaint?    21   and the two that you were provided was Mr. Reidy and
22       A. Well, the complaint is a basis for them.        22   Mr. Rulison?
23   It's certainly -- you know, part of my work was to     23      A. That's correct.
24   dig deeper, investigate, and as complaints are         24      Q. And you weren't even told about the
25   filed, specific details of -- of facts change. And     25   existence of the damages report from Mr. Ahern?

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 1       A. I was not. My -- my reading of                   1       A. Well, it was a discussion.
 2   Mr. Ahern's report is that it was responding to         2             MR. PODOLL: Objection.
 3   Mr. Rulison. Not that that's an excuse. But maybe       3       A. It came up.
 4   at the time when I was making the request, it was       4       Q. So tell me about the discussion that
 5   deemed not relevant at the law firm level.              5   resulted in you becoming aware of the Ahern report
 6       Q. Well, what you're saying is that you             6   from 2022 for the first time and being provided with
 7   don't know why you weren't provided with Mr. Ahern's    7   it four days ago?
 8   report. But you asked for the expert reports, and       8       A. Okay. I do want to correct that. I
 9   you were not provided with his report, right?           9   don't know why. You would have to ask the Podolls.
10       A. That's correct.                                 10               But number two, it was in
11       Q. And have you -- since receiving that            11   preparation for the deposition. My question was
12   report four days ago, have you discussed with          12   have there been any other expert reports issued in
13   anybody, any of the attorneys on behalf of the         13   this case that I need to be aware of or understand
14   plaintiffs, why you hadn't been provided that report   14   prior to my deposition.
15   previously and why you were being provided with it     15               And the response was, well,
16   all of a sudden now?                                   16   besides Ahern and Reidy, and I think there was a
17       A. I had a discussion with Mr. Rob Podoll.         17   couple of other expert names in there, we don't have
18   And I wasn't demanding in any manner, but I did ask,   18   anything. And I was like, oh, well, I didn't know
19   you know, is this report out there and can I have a    19   Mr. Ahern was involved.
20   copy of it? I didn't ask for reasons why I was not     20       Q. And so?
21   provided with it.                                      21       A. And so that's what triggered me getting a
22       Q. So you're saying that the -- the reason         22   copy of his April 2022 report.
23   you received the report four days ago of Mr. Ahern     23       Q. Did you ask whether that was the only
24   was because you asked for it, not because anybody at   24   damages report that had been provided in the case at
25   the Podoll firm provided it to you?                    25   that point?


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 1       A. I don't recall if I asked if that was the        1   specifically would be appropriate for you to opine
 2   only one, but I guess maybe I was under the             2   on?
 3   assumption that if I was inquiring about it, that       3       A. I spoke with several members of the
 4   any and all reports that he had issued would have       4   Podoll firm. Rich, Rob, Jackie Hill, and I believe
 5   been given to me.                                       5   Bob Kitsmiller at one point. But I don't think Bob
 6       Q. Your expectation, based on the                   6   and I were talking about specifics on this case. It
 7   conversation, was that whatever reports particularly    7   was just administrative and coordinating access to
 8   relating to damages, which is your area, that were      8   documents.
 9   in the case would be provided to you. And in            9               But generally, it was Mr. Rich
10   response to that, you were provided with Ahern's       10   Podoll who was giving me directive to be retained
11   April 2022 report; is that right?                      11   and to analyze damages in this matter.
12       A. That's correct.                                 12       Q. In your discussions with the lawyers, did
13       Q. Okay. And is the first time you became          13   you discuss the facts of the case?
14   aware that there was a rebuttal to your report in      14       A. I'm sure we have, yes. I mean, many
15   this deposition today?                                 15   times.
16       A. That's correct. Yes.                            16       Q. Were you told to make any assumptions for
17       Q. Does that surprise you that there's a           17   purposes of your work?
18   expert damages report directly rebutting your May      18       A. I was asked to assume that the plaintiffs
19   2023 report and you've never been told about it or     19   would prove liability, and that I'm not giving
20   provided with it?                                      20   opinions on liability in this case, that I am just
21              MR. PODOLL: Objection. Relevance.           21   using the information available and determining the
22       A. Yes.                                            22   damages based on the factual evidence and the
23       Q. All right. Who did you meet with or             23   opinions that have been offered.
24   speak with to discuss the details of the engagement    24       Q. All right. Now, skipping ahead a little
25   that is at issue in the case and what topics           25   bit. You have set up a construct for damages in

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 1   which you are assuming that First Western Trust Bank    1             MR. PODOLL: Object. Object. Form.
 2   would have sold loss positions in the Flecks'           2       A. I first determined the date and then ran
 3   accounts on December 3rd, 2018, correct?                3   the calculations. I didn't run it on multiple dates
 4      A. Correct.                                          4   to see if there's a difference in calculations.
 5      Q. Okay. Did you discuss with the lawyers            5       Q. Okay. So you have never run your
 6   the use of that date as opposed to other dates?         6   calculations using the model that you're using here,
 7      A. I do believe there was a discussion on            7   using any date other than December 3, 2018; is that
 8   that. I was looking for evidence regarding when         8   true?
 9   Mr. Fleck had his meeting and conversations. I          9       A. It's a work in progress until it's
10   looked at Mr. Fleck's deposition testimony, those      10   finalized. I -- I can tell you that there -- I
11   types of things.                                       11   don't have a schedule that uses an alternative date.
12               So yeah, this was definitely an            12   I'm sure there were considerations as we were
13   element that I discussed with them, is what was kind   13   working through creating the framework for the
14   of a reasonable date to look at when the loss          14   damages analysis. But this December 3rd was the one
15   harvest sale should have occurred based on             15   that made the most sense, given the testimony --
16   information that they had.                             16   the -- the deposition testimony and the records.
17      Q. And did the lawyers tell you that they           17       Q. Okay. Well, we'll get to that in a bit.
18   believed the reasonable date used was December 3rd,    18   But right now all I'm asking is did you ever run
19   or did you come up with that date?                     19   calculations using any date other than December 3rd,
20      A. I came up with that date.                        20   2018?
21      Q. And in the course of coming up with that         21       A. To my knowledge, I did not.
22   date, did you run calculations as to what the          22       Q. So you have no idea what the damages
23   damages would be -- would be using that date as        23   calculation would be under your model if you were to
24   opposed to other dates?                                24   use December 4th, 2018; is that true?
25      A. Well --                                          25       A. I -- I did not run it on December 4th, so


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 1   that would be a true statement.                         1   December 5th provided a higher or lower number.
 2       Q. And the same would be true as to any             2       Q. But you're -- you're being somewhat
 3   other date in 2018, you do not know what the damages    3   equivocal about this, and I want to get to the
 4   would be if you were to use any date other than         4   bottom of this. So I'm going to probe a little bit
 5   December 3rd, correct?                                  5   more on that.
 6       A. That's correct. I would not go through           6               In your report, the only date you
 7   the entire model and do it on a date that I didn't      7   used is December 3rd, correct?
 8   deem was the appropriate date.                          8       A. Correct.
 9       Q. Okay. And what I want to make sure, is I         9            MR. PODOLL: Objection to form.
10   understand that in your report you only used           10       Q. And my question is: In the course of
11   December 3rd. But I want to make sure that you         11   doing your work in this matter, before the report,
12   never, as part of your work in this matter, did        12   since the report, at any time, have you ever
13   anything to figure out what the damages would be if    13   performed a damage calculation assuming that the
14   you used any other date other than December 3rd?       14   securities would have been sold on any date other
15       A. As I mentioned, it's a work in progress.        15   than December 3rd?
16   You don't sit down and just punch a number and         16       A. Not to my recollection.
17   things are populated.                                  17       Q. Okay. And did you discuss with any of
18                 There may have been dates that           18   the lawyers the decision to use December 3rd and not
19   were looked at. I -- I don't recall. It was a long     19   to take a look at what the damages might be if you
20   process. We have over 90 hours in preparing this       20   used some other date?
21   report. So I -- I can't definitively say that          21       A. I don't recall if that was something that
22   there's nothing that was ever a different date.        22   we discussed.
23                 But that date was determined             23       Q. But the decision to use December 3rd and
24   fairly early on in my analysis. I did not compare      24   only December 3rd, as far as running calculations,
25   it to see if a different, you know, December 4th or    25   was yours, not the lawyers'; is that right?

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 1       A. Well, I'm sure it's something that I             1   that you -- that you made based on your review of
 2   discussed. I believe at that time I might have been     2   the facts in the case, or is it something that you
 3   having discussions with Mr. Rob Podoll. And I do        3   were told by the lawyers to use?
 4   recall making maybe a comment, not a calculation,       4       A. I believe I just answered that. But I
 5   but a comment, that it seemed odd that everyone was     5   was not told by the lawyers to use this date. I
 6   assuming a December 31st sell-off.                      6   asked about when the conversation occurred because
 7               But confirming and validating               7   there was record of Mr. Fleck having conversations
 8   December 3rd certainly was a discussion because the     8   about harvesting losses.
 9   law firm had knowledge of other depositions and         9               So from a reasonable standpoint,
10   things that had taken place. They had records that     10   in my mind, it was important to establish when and
11   were available to them regarding communications        11   at what point in time that would have happened. And
12   across the parties that I was requesting. So it was    12   part of the claims in this case is -- case is
13   a part of a conversation.                              13   failure to harvest those losses. So it was
14               But at the end of the day, the             14   important to me to try to see what was a reasonable
15   December 3rd, 2018, as it's written in my report,      15   date that the bank -- had they acted given
16   made sense to me from the standpoint of the timing     16   Mr. Fleck's directive, when that date would be.
17   of the statements being issued and the amounts of      17       Q. All right.
18   losses that were being discussed in Mr. Fleck's        18       A. And so I requested lots of documents,
19   deposition. So ultimately what was reasonable as an    19   looked at evidence, and came up with December 3rd,
20   estimate was December 3rd, in my opinion. And I        20   2018.
21   don't recall being told or given a directive by the    21       Q. All right. And you said that was
22   law firm of Podoll & Podoll that I must use December   22   reasonable as an estimate of the date on which First
23   3rd, 2018.                                             23   Western should have or would have harvested the
24       Q. When you say that December 3rd was              24   losses?
25   reasonable as an estimate, was that a determination    25       A. If they were listening to their client


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 1   and his request, given the holidays, Thanksgiving       1   didn't you, since this was an estimate, consider
 2   holidays, all of those elements, December 3rd is the    2   dates on either side of it so that you had a more
 3   first business day, Monday, following all of that,      3   complete picture?
 4   that that would have been a reasonable enough amount    4        A. I made the determination that that first
 5   of time for them to execute his wishes.                 5   business day, Monday of the first week of the month
 6       Q. And I wrote down the words you used. You         6   following the holidays, following all the
 7   said that was reasonable as an estimate of the date,    7   discussions, following the meetings, if you had a
 8   right?                                                  8   client, if I were in that position, that said please
 9       A. That's correct.                                  9   do something, that would have been the date that
10       Q. All right. Now, when somebody arrives at        10   made the most sense to me.
11   an estimate, often they consider periods of time       11                And so why I didn't run
12   before or after that estimate because the estimate     12   calculations on the Friday before or the Thursday
13   isn't precise. That's the nature of an estimate.       13   after, simply I'm running this as an estimate, and
14                So why didn't you look to see             14   it's quite time consuming to pull all the records
15   whether dates around this estimated reasonable date    15   and combine all of it together. I picked
16   of December 3rd, what the results would have been?     16   December 3rd. I talked about that with counsel.
17             MR. PODOLL: Object. Form.                    17   They assessed, and given my reasoning, yes, that's
18       A. I was less driven by the dollar amount          18   reasonable. So for those reasons, I did not run
19   impact that a different date would have and more       19   multiple calculations.
20   driven by what would reasonable reaction time be and   20        Q. So you took the date that you thought was
21   when should the execution of selling and harvesting    21   a reasonable estimate of the date that the sales
22   those losses would have occurred.                      22   would have occurred and you used only that date,
23       Q. I understand. But you used the term             23   correct?
24   "reasonable as an estimate." And given the fact        24        A. That's correct.
25   that an estimate by its nature isn't precise, why      25        Q. Okay. Now, have you ever worked for a

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 1   wealth management firm?                                 1       Q. Are you giving any opinions as to whether
 2       A. I've never been an employee of a wealth          2   Mr. Fleck ever instructed First Western Trust Bank
 3   management firm.                                        3   to harvest tax losses?
 4       Q. Have you ever worked for an investment           4       A. I'm not giving opinions on Mr. Fleck's
 5   advisory firm?                                          5   statements, no.
 6       A. I've never been an employee of an                6       Q. So the answer to my question is no?
 7   investment advisory firm.                               7       A. That's correct.
 8       Q. Have you yourself, regardless of who your        8       Q. Are you giving any opinions that
 9   employer is, have you yourself ever worked as a         9   Mr. Fleck had a meeting on December 2nd, 2018 with
10   wealth management -- wealth manager or investment      10   First Western Trust Bank?
11   advisor?                                               11       A. I am not giving opinions on Mr. Fleck's
12       A. No. Those require specific                      12   date of meetings, no.
13   certifications and licenses, and I do not have any     13       Q. Are you aware from the documents of a
14   of those. I have six other certifications, but not     14   meeting that Mr. Fleck did have with First Western
15   in wealth management or advisory services for          15   Trust Bank on November 6th, 2018?
16   investing.                                             16       A. I don't recall exact dates, but I do know
17       Q. Are you giving any opinions in this case        17   there were meetings in November.
18   that the investment policy statement required a tax    18       Q. You know that there was a quarterly
19   loss harvesting?                                       19   meeting following the end of the third quarter,
20       A. I am not giving any opinions on                 20   correct?
21   liability. I'm only giving damages opinions on         21       A. I don't know the calendaring of their
22   quantifying damages resulting from activities or       22   established meetings, but I do know that there were
23   failure to perform.                                    23   supposed to be regular meetings regarding the trust
24       Q. So is the answer to my question no?             24   accounts.
25       A. That would be a short answer, yes.              25       Q. Let me just try to be clear.


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 1               Are you aware there was a                   1      A. I was not asked to be in that space and I
 2   quarterly meeting held on November 6th, 2018 to         2   am not giving opinions on liability in this case.
 3   discuss the --                                          3      Q. In fact, you're not qualified to give
 4      A. I don't --                                        4   opinions as to benchmarks or appropriate benchmarks
 5      Q. -- performance at the end of the third            5   for measuring performance returns in investment
 6   quarter?                                                6   portfolios, are you?
 7      A. I don't recall the title of the meeting,          7      A. I am not a licensed or a registered
 8   that it was just to be a quarterly meeting. But I       8   investment advisor.
 9   am aware that there was a meeting.                      9      Q. That's not what I asked you, Ms. Masten.
10      Q. Are you giving an opinion that there were        10      A. I am capable of those doing things, but I
11   any other meetings between Mr. Fleck and First         11   am not hired in this case for that. I don't know
12   Western Trust Bank following the November 6th, 2018    12   that I would not be qualified, but I would probably
13   meeting?                                               13   not be the best person to be giving opinions on what
14      A. I am not.                                        14   an investment advisor is supposed to do or the
15      Q. Are you giving any opinions on industry          15   benchmarks that they are supposed to use.
16   custom in the investment management industry on        16      Q. You're not an expert on -- I'm sorry, let
17   investing or tax loss harvesting?                      17   me withdraw that.
18      A. I am not giving opinions on liability,           18               You're not giving any opinions on
19   including those elements.                              19   how to rebalance portfolios, investment portfolios,
20      Q. Are you giving any opinions on                   20   are you?
21   appropriate benchmarks for measuring performance       21      A. I am not.
22   returns in investment portfolios?                      22      Q. You're not giving any opinions on how to
23      A. I am not.                                        23   manage investment portfolios, are you?
24      Q. You're not qualified to give an opinion          24      A. I am not.
25   on that topic, are you?                                25      Q. And again, you wouldn't be qualified to

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 1   be an expert witness as to how to manage investment     1   similar security rather than sitting in cash?
 2   portfolios, would you?                                  2   You're aware that that's another strategy, right?
 3       A. That is not my area of expertise, no.            3       A. There are lots of strategies, yes. But
 4       Q. Are you giving any opinions in this case         4   in this instance, based on Mr. Fleck's directive,
 5   as to whether it's appropriate to hold sale proceeds    5   harvesting the losses, my understanding is that he
 6   in cash or to reinvest them?                            6   was not requesting that anything else be done, other
 7       A. I am -- I am not giving opinions on the          7   than harvest those losses so that we can use them as
 8   appropriateness of that. I have given opinions          8   a tax shield and reinvest the money in an
 9   regarding tax loss harvesting that include wash-sale    9   appropriate time.
10   rules, which set aside and reinvest. But I'm not       10       Q. You think that Mr. Fleck -- let me
11   giving opinions on to -- as to the strategy behind     11   withdraw that.
12   that.                                                  12                Do you have any evidence in this
13       Q. Okay. So, for example, in this case,            13   case that causes you to think that Mr. Fleck
14   your opinion assumes that First Western Trust Bank     14   specifically instructed First Western when they sold
15   would have sold certain securities on December 3rd,    15   the securities to hold the proceeds in cash as
16   2018 and then would have held the proceeds in cash     16   opposed to reinvesting them in a similar security?
17   until the wash-sale rule expired, right?               17       A. I have no evidence of that.
18       A. That's correct. Because the directive           18                My analysis was assuming the most
19   is -- my understanding is Mr. Fleck's directive was    19   conservative, in my opinion, way of looking at how
20   to harvest the losses. And that's part of the loss     20   that would be handled. And so that was to set aside
21   harvest strategy, is selling off, setting aside the    21   earned interest during that month and then to
22   proceeds, and reinvesting after the 30-day period.     22   reinvest.
23       Q. Okay. You're aware, aren't you, though,         23       Q. You are aware, though, that another
24   that another strategy to deal with the wash-sale       24   strategy that would still comply with the wash-sale
25   rule is to immediately reinvest the proceeds in a      25   rule would be to sell on a particular date and then

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 1   immediately reinvest in similar securities rather       1       Q. Your answer is what?
 2   than holding it in cash for 30 days. You're aware       2       A. Yes, I -- yes, I have said that there are
 3   that that's another strategy that can be employed,      3   multiple strategies, and that would be one of them.
 4   right?                                                  4       Q. And you're not an expert on whether it is
 5       A. I'm aware that there's lots of                   5   more appropriate to hold proceeds in cash or to
 6   strategies, and the strategies are generally            6   reinvest them. That decision is not something that
 7   investor specific. And so there's multitudes of         7   is within your area of expertise, right?
 8   ways that can -- you know, these -- the wash-sale       8       A. As I've mentioned multiple times, I am
 9   rule can be deployed.                                   9   not giving an opinion as an RIA or an investment
10                Specifically at the end of the            10   advisor. My specialty is forensic accounting, and I
11   year, though, there's generally a tendency to set      11   am offering opinions here on the damages here in
12   that aside and then take a -- take advantage of a      12   this case based on the expertise of other experts
13   general trend in the market at the end of the year     13   and the facts in the case.
14   and reinvest at the beginning of the year.             14       Q. That's not what I asked you. Would you
15       Q. Well, I asked you a more specific               15   like to hear my question again?
16   question than that.                                    16       A. Certainly.
17                Isn't it true that you're aware           17       Q. Okay.
18   that another strategy for dealing with the wash-sale   18             MR. BEYER: Leeann, would you mind
19   rule is instead of holding the proceeds in cash, to    19   reading back my question.
20   immediately reinvest them in a similar security?       20               (Record read.)
21             MR. PODOLL: Objection.                       21       A. Correct.
22       A. You can do that. It's --                        22       Q. But, nevertheless, you have in your
23             MR. PODOLL: (Simultaneous speaking).         23   damages model assumed that the strategy that would
24             THE WITNESS: Sorry, Rob.                     24   have been employed was to -- would have been to hold
25             MR. PODOLL: Go ahead.                        25   all the proceeds in cash until the 30 days expired

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 1   and then to buy back the same securities, right?        1      A. I don't recall having discussions about
 2       A. That's correct.                                  2   the approach. I do recall having discussions
 3       Q. Did you do any work in your analysis to          3   regarding any conversations they might have had with
 4   determine what the damages might be in the event        4   Mr. Fleck, as far as was any additional directive
 5   that instead of holding all the proceeds in cash,       5   given. But what -- again, what made sense at the
 6   First Western had reinvested them in a similar          6   time is to set it aside in cash and reinvest it.
 7   security?                                               7      Q. When you say that -- I'm sorry. You say
 8       A. I did not.                                       8   that made sense. But you've already said you're not
 9       Q. Did you do anything to analyze any other         9   an expert on whether that's the appropriate strategy
10   strategy? You've said there are a multitude of them    10   or not, right?
11   for dealing with the wash-sale rule. Did you           11      A. I'm not a registered advisor, that's
12   consider any of those other strategies in your         12   correct. I am here trying to estimate damages. And
13   analysis of the damages in this case?                  13   using what evidence that I have, in my opinion the
14       A. I did not. I have memorialized my               14   most reasonable way to assess damages was to look at
15   opinions and the basis for those opinions in my        15   what the proceeds from those -- harvesting of those
16   report, and the opinions that I have are based on      16   losses would have been, setting it aside, and then
17   selling, setting aside the cash, and reinvesting       17   reinvesting. I did not run multiple scenarios.
18   after the 30 day wash-sale rule expired.               18      Q. What I'm having trouble understanding is
19       Q. And you did not consider any other              19   given the fact that you've conceded that you're not
20   possible scenarios for how an investment advisor       20   an expert on the -- on -- on the strategies and
21   might deal with the wash-sale rule, right?             21   which strategies to use in dealing with the
22       A. That is correct.                                22   wash-sale rule, and recognizing as you have that
23       Q. Okay. And did you discuss that with the         23   there are a multitude of such strategies, why you
24   lawyers, that you were going to pick that one          24   picked only one of them and didn't consider any of
25   approach and not consider any others?                  25   the others in your analysis? Why did you do that?


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 1       A. At the time when I was preparing my              1   being reinvested.
 2   analysis, and still as I sit here today, this makes     2       A. Identify a resource that told me that?
 3   the most sense. And it's my job is to estimate          3       Q. Yes.
 4   those damages.                                          4       A. Is that what your question was?
 5       Q. Well, did you look at any authoritative          5       Q. Yeah.
 6   texts, for example, to find out whether using the       6       A. I don't have a resource that told me,
 7   assumption that the proceeds would be held in cash      7   Lari Masten, to do my damage analysis in this way.
 8   rather than reinvested -- rather than being             8       Q. Well, I'm looking for a resource that
 9   reinvested would make sense for this analysis that      9   addressed the question of whether it is reasonable
10   you're doing?                                          10   to assume that the investment advisor would have
11       A. I did do some research. I certainly             11   held the proceeds in cash rather than reinvesting
12   sharpened my skills and refreshed my recollection on   12   them so that you then would, based on that, make the
13   how wash sales worked both from a tax perspective      13   assumption that you did, which is that all the
14   and an investment advisory perspective.                14   proceeds would be held in cash rather than be
15                I did not come across any text            15   reinvested?
16   that had 10 or five or multiple ways of dealing with   16             MR. PODOLL: Object to form.
17   this specific situation. But in assessing the facts    17       A. I cannot point to a text or a resource
18   and at looking at the evidence that was in front of    18   that said, Lari Masten, do your damages in this way.
19   me, this is the manner in which the calculation of     19   This was my decision.
20   the damages for this portion of my opinions made the   20       Q. That's not what I asked you.
21   most sense.                                            21               I'm asking whether the decision
22       Q. All right. Well, identify any of these          22   that you made was guided in any way by some
23   sources that you believe instructed you that the       23   resource, authoritative texts, some other materials
24   appropriate construct here was one of assuming the     24   that caused you to make the decision that you should
25   proceeds would have been held in cash rather than      25   assume that all the proceeds would have been held in

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 1   cash rather than be reinvested?                         1   to -- I'm sorry, let me withdraw that.
 2             MR. PODOLL: Object. Form.                     2                Is your list complete as to the
 3       A. I believe I've answered that question            3   facts that caused you to assume that First Western
 4   multiple times. There's not a resource that I           4   would have kept the proceeds in cash rather than
 5   looked at that directed one versus another. It is       5   reinvesting them?
 6   my -- my assessment of looking at the facts, looking    6       A. For the most part, that is a primary
 7   at where the money would have gone. It would have       7   reason. Again, going back to I looked at what would
 8   been -- if I were to select under your scenario a       8   have happened to that cash. But it would have been
 9   different model of similar investments, there's so      9   pure speculation for me to say they would have been
10   much speculation about picking those investments.      10   reinvested in different securities or different
11   That did not make sense to me.                         11   equity funds, so I made the assumption that the rate
12                But within their own portfolio,           12   of return would be interest for those 30 days.
13   they had an opportunity to put that money with First   13       Q. All right. And isn't it true that that's
14   Western Trust Bank, in their interest-bearing          14   pure speculation on your part, as to what First
15   accounts for 30 days, and that made sense to me.       15   Western would have done had they sold the securities
16       Q. What facts did you rely on that led you         16   on December 3rd, as to whether they would have kept
17   to the assumption that First Western Trust Bank        17   it in cash or reinvested them in similar securities?
18   would have held all the proceeds in cash rather than   18   You're speculating, aren't you?
19   reinvesting them?                                      19       A. Well, First Western definitely has
20       A. Well, the fact that they had the First          20   they're -- they're on record, Mr. Sawyer, I believe,
21   Western Trust short-term, medium-term cash accounts,   21   that they have a very conservative approach of
22   cash and cash equivalence, and they were using them    22   investment advisory. They have a history within
23   in a similar manner in other sales of other            23   these portfolios of fluctuating in those cash and
24   securities.                                            24   cash equivalent accounts.
25       Q. Okay. So one of the facts that led you          25                And so it -- looking at the


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 1   of pages on the purchases, you see corresponding        1       A. Correct.
 2   purchases at or about the same time, right?             2       Q. And all of those losses were almost
 3       A. Yes.                                             3   immediately reinvested in other securities, right?
 4       Q. And if you go to the next -- the Barbara         4       A. That's correct.
 5   Fleck for that same period of time, this one ends in    5       Q. All right. Let's look at the December
 6   Bates number starting 140. You can just tell me         6   statements. Pull up the December statement for
 7   when you're there.                                      7   Aaron Fleck, please.
 8       A. Give me a second. Okay. I have that              8       A. Do you have a Bates number on that,
 9   document open.                                          9   please?
10       Q. Okay. And if you look on pages 12 and           10       Q. Yes. The first page ends in 207.
11   13.                                                    11       A. Thank you.
12       A. Yes.                                            12       Q. Yeah. If you look on pages 16 and 17,
13       Q. You'll see the sales or losses, correct,        13   you'll see sales totaling 350,000, right?
14   totaling 70,000?                                       14       A. Sorry. I'm -- I'm still getting it open.
15       A. That's correct.                                 15               Okay. Yes, so the page 17 of 18
16       Q. And if you look back at purchases,              16   shows $350,000, roughly, in sales proceeds for
17   pages 11 and 12 of that same document, you see         17   Mr. Fleck's trust.
18   corresponding purchases at about the same time for     18       Q. And within a few days, purchases of
19   all of the proceeds of the losses, right?              19   369,000, right?
20       A. So total purchases are 1,191,000 and            20       A. You know, the purchases range from
21   total sales were 1,186,000, so yes, very similar.      21   December 3rd to the, I think, the 27th, and the
22       Q. So with respect to the Aaron Fleck and          22   sales range from, I think it's the, December 17th to
23   Barbara Fleck statements in November of 2018, you      23   December 31st.
24   would agree that there were sales resulting in         24       Q. So the dates of the repurchases do not --
25   losses, right?                                         25   are within a few days, but they're not necessarily

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 1   one day or the same day as the sales, right?            1      A. Yeah. I would -- I would have to look
 2              MR. PODOLL: Object. Form.                    2   and see what the cash balances are, if those are
 3        A. I would have to go in and track the dates       3   fluctuating, if they're setting aside any of that.
 4   for each other. But generally the sales dates are       4      Q. All right. So given what you've seen
 5   heavier weighted in the later part of the month and     5   there and what I'm sure you saw before, isn't it
 6   the purchases are earlier, just looking at it on a      6   true that First Western, when they sold losses in
 7   cursory basis as we sit here.                           7   their account, at least during this period in late
 8        Q. And some of those sales were losses,            8   2018, rather than sitting on cash with the proceeds
 9   right?                                                  9   they reinvested it almost immediately?
10        A. Yes. And they were put to cash until the       10      A. Yes, they did.
11   purchases were made.                                   11      Q. Now, did you read Mr. Fleck's deposition?
12        Q. And the purchases were all made within a       12      A. I did many months ago, yes.
13   few days of the sales, right?                          13      Q. Did Mr. Fleck say anything in his
14        A. Well, that's what I'm looking at.              14   deposition about whether he thought First Western
15   Because the purchase date ranges, I want to just       15   was required to hold the money in cash or should
16   take a second to look at the -- what they're           16   have held the money in cash versus reinvesting it?
17   purchasing because some of it's cash. But some of      17      A. I -- I don't recall. I would have to go
18   it's like early in December, December 3rd, into a      18   back and review his deposition to be able to answer
19   fixed income fund, December 4th into Oppenheimer,      19   that statement.
20   December 17th, John Hancock.                           20      Q. Well, would you agree that that is
21                 And then the sales are December          21   important in your determination of whether your
22   27th, 21st, the 19th. So the sales seem to be          22   assumption was a reasonable one, that they would
23   later. But, yeah, generally the sales and the          23   have held all the proceeds in cash, to find out what
24   proceeds are reinvested.                               24   Mr. Fleck had to say on that subject?
25        Q. Okay. Within the same month?                   25      A. Well, his deposition doesn't give a

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 1   reinvested in. But you know that based on their         1      A. Yes. Wash-sale rules can apply to any
 2   experience at around the same time with other losses    2   point in time in the year.
 3   that they captured in the Fleck accounts, they would    3      Q. Right. It doesn't have to be --
 4   have reinvested and they would have figured out what    4   wash-sales -- the wash-sale rule doesn't only apply
 5   to reinvest in, right?                                  5   when the purpose of selling securities is to tax
 6       A. Well, I didn't -- I see -- I see losses          6   loss harvest, right?
 7   and gains and sales and trades. But generally when      7             MR. PODOLL: Objection to form.
 8   you see that pattern, it's because they're targeting    8      Q. It applies to any sales?
 9   a portfolio waiting, and they're not trying to          9             MR. PODOLL: I'm sorry. I didn't
10   specifically harvest losses and take advantage of      10   mean to cut you off.
11   those at year end.                                     11                Object to form.
12               And so I -- I see that there's a           12      A. Yes. Tax loss -- the wash-sale rules
13   pattern of reinvestment. But specifically under the    13   apply on any sale.
14   concept of tax loss harvesting, I don't know what      14      Q. And we know empirically that around the
15   their philosophy is, other than the deposition         15   same time that when First Western sold and took
16   testimony and the fact that the advisors did not do    16   losses in the Fleck accounts, they, in fact,
17   that in December; that there were sales in February,   17   reinvested at almost the same time, right?
18   there was reallocations later, but it didn't occur     18      A. Generally speaking, yes.
19   timely.                                                19      Q. And yet you have made an assumption in
20       Q. Okay. Why does the purpose of selling           20   your analysis here that they would have, in
21   and repurchasing securities in a portfolio make any    21   December, instead of acting the way they had been
22   difference? The fact is that they sold and captured    22   acting throughout the portfolio, they would have,
23   losses in November, as we looked at, that they --      23   for the first time, sat on $1.1 million of cash,
24   the wash-sale rules still apply, right, to those       24   right?
25   sales?                                                 25             MR. PODOLL: Object. Form.

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 1       A. I have because of the timing of the year,        1       Q. Can you think of any reason why First
 2   that this would be the time that they could also        2   Western would have reinvested proceeds of lost sales
 3   take advantage of the January effect.                   3   in other months, but in December would have instead
 4       Q. But if they had sold securities at losses        4   kept all the money in cash and treated that month
 5   in November, they could take advantage of               5   different from other months?
 6   performance in December, right?                         6       A. Well, certainly there is the January
 7       A. That's true for any month, yes.                  7   effect concept, and that would be a reason to do
 8       Q. But we know that in November they didn't         8   that. But again, the reason in my model I did that
 9   do that. They reinvested promptly, instead of           9   was because I believed it was too speculative for me
10   sitting on cash for 30 days and waiting for            10   to reach into their mind and see what they would
11   December, right?                                       11   have reinvested in. And putting it in cash and
12       A. Yes.                                            12   reinvesting in early January to take effect -- to
13       Q. And are you aware that historically             13   take advantage of that January effect, that would
14   December is a higher performing month than January?    14   certainly be a consideration of an investor.
15       A. I --                                            15               Whether these particular advisors
16       Q. In the S&P? In the S&P? Sorry.                  16   would have had that consideration, I don't know.
17       A. I, again, remind you I have not looked at       17   But in other months, the sales and holding off to
18   that and studied that in great detail in recent        18   cash would not have made sense.
19   times. I am aware that there's generally               19       Q. So you're saying that the reason why you
20   fluctuations. But I can't answer that question.        20   used, in your model, the assumption that all the
21   That's not my area of expertise and that's not --      21   proceeds would be held in cash is because you
22   I'm not here as a registered advisor saying that the   22   weren't capable, without speculating, of figuring
23   advice that I would be giving these clients is to      23   out the but-for world as to say what they would have
24   invest in one or another during one month or           24   invested in. That's the reason why you decided to
25   another.                                               25   assume that they would stick it in cash?


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 1       A. I decided that the least speculative way         1   they held cash.
 2   was to leave it in cash.                                2       Q. So is the answer to my question no?
 3       Q. Okay. And that's the reason why you made         3       A. Am I aware -- if you could repeat the
 4   the assumption in your model that they would have       4   question. But I think your question was am I aware
 5   left it in cash, because it resulted in the least       5   of any time where they sold and set aside in cash.
 6   amount of speculation on your part?                     6                There are instances where there
 7       A. Yes.                                             7   were sales and money went to cash short term and
 8       Q. Okay.                                            8   then other investments were reinvested in. I'm not
 9              MS. COURT REPORTER: Can we take a            9   aware of any time in this portfolio where money was
10   quick break?                                           10   set aside to reinvest under the wash-sale rules in
11                (Break from 10:42 a.m. to                 11   the same securities.
12                 10:56 a.m.)                              12       Q. That's not the question I asked, so I'll
13   BY MR. BEYER:                                          13   try it again.
14       Q. Ms. Masten, we're back on the record.           14                Are you aware of any situations in
15                Are you aware of any situation in         15   the Fleck portfolios where First Western sold
16   either of the Fleck accounts where First Western       16   securities, generating a loss, and then sat on the
17   ever sold proceeds reflecting a loss and then held     17   cash for 30 days before reinvesting it?
18   the proceeds in cash for 30 days?                      18       A. I am not aware of it.
19       A. I did not track details regarding that,         19       Q. You're not aware of that ever having
20   as far as reinvestment. I am aware that there's        20   happened, right?
21   certainly patterns throughout the time period of the   21       A. I am not.
22   portfolios where sales occurred and they were          22       Q. All right. I want to look at Appendix D
23   reinvested within a matter of days or weeks. But       23   to your report, which is the Summary of Report
24   not where there was a wash-sale issue, where they're   24   Information and Data Sources. These are the
25   trying to reinvest in the same securities, where       25   materials that you were provided, that went into

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 1   your analysis and resulted in your conclusions,         1   so as I sit here, there's nothing in addition to the
 2   correct?                                                2   influence that he's had on my opinions based on
 3       A. Correct.                                         3   that. But again, I haven't read the complete
 4       Q. And this is a complete and accurate list         4   deposition.
 5   as of the date of your report?                          5       Q. Anything other than the Ahern report of
 6       A. Yes.                                             6   2022 and the Rulison deposition transcript that you
 7       Q. Now, since May 15th, 2023, the date of           7   had been provided since Appendix D up to today?
 8   this report, you've said that you were provided with    8       A. I don't believe so, no.
 9   the April 2022 report of John Ahern, correct?           9       Q. And the Rulison deposition transcript was
10       A. That's correct.                                 10   provided to you on August 27th, late in the
11       Q. Have you been provided with any other           11   afternoon; is that right?
12   materials in this case other than Mr. Ahern's report   12       A. That's correct.
13   between May 15th and the present?                      13       Q. And as of the time of your deposition,
14       A. I believe I was provided with an                14   you haven't had a chance to read it thoroughly?
15   additional deposition record. Give me a second and     15       A. That's correct.
16   I can tell you what that was. Mr. Rulison's            16       Q. And the Ahern 2022 report was provided to
17   deposition.                                            17   you on August 24th?
18       Q. Was there anything in Mr. Rulison's             18       A. Yes, that's correct, the afternoon of
19   deposition that affected or affects any of the         19   August 24th.
20   opinions that you're giving in this case?              20       Q. All right. Now, looking on your list,
21       A. Well, based on his report, there's              21   you say, "I was provided the documents and files
22   indications in my report where I'm relying on his      22   listed below." One of them is -- the third item is
23   assessment. I just got his deposition yesterday        23   "Confidential mediation statement."
24   afternoon at 4:22, so I have not had a chance to       24                Do you see that?
25   read it in all detail. I did a cursory look. And       25       A. I do.

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 1   looking at portfolio asset allocation.                  1   investment was in. So it's separate from the
 2               But if you're specifically wanting          2   portfolio mix of just selling losses and then
 3   to take advantage of the wash-sale rules, you sell      3   reinvesting in different investments.
 4   and you rebuy the same security after the 30 days.      4       Q. But my question is: Are you testifying
 5       Q. All right. But --                                5   that when you -- when an investment advisor sells
 6       A. So in that case you would need that cash         6   securities to capture a loss, they necessarily have
 7   available to reinvest.                                  7   to keep the proceeds in cash for the 30 days in
 8       Q. Okay. But I thought we had covered this,         8   order to buy back the original securities? Is that
 9   but maybe we didn't sufficiently.                       9   what you're saying?
10               So it's your understanding that            10       A. That is not my testimony.
11   in harvest -- when the purpose of selling is to        11       Q. No, because you know perfectly well that
12   harvest losses, you necessarily leave the proceeds     12   that's not the case. That another strategy is to
13   in cash until the wash-sale period has expired and     13   take the proceeds and immediately reinvest them in a
14   then use that cash to buy back the same securities?    14   security that won't violate the wash-sale rule
15       A. Your -- the wash -- so you're combining a       15   rather than sitting on the cash. You know that
16   couple concepts. But the wash-sale rules are           16   that's an acceptable strategy too, right?
17   reinvesting in the same securities. And so you         17       A. But if your strategy is to have the same
18   would set aside that cash, and maybe that cash could   18   position --
19   be invested in some other securities, some fund,       19       Q. No. No. No. No.
20   sell it, come back.                                    20       A. -- in those securities --
21               But generally if you want to               21       Q. I'm going to jump in because you're again
22   reinvest in the same securities and you have the       22   evading my question and answering a different
23   30-day period of time that you're looking at, you're   23   question. Please answer my question first.
24   not going to reinvest those in other securities        24                You know that is an acceptable
25   because you're specifically interested in what your    25   strategy, right?

                                             Page 116                                                    Page 117
 1       A. Can you restate your theory?                     1   reinvest in the same securities.
 2       Q. It's not a theory. It's a question.              2       Q. Not the question.
 3                Isn't it true that you're well             3       A. How they've set the money aside -- and
 4   aware that it is permissible, as a strategy, to sell    4   we've talked this also. I'll argue back with you
 5   securities to capture a loss and to reinvest            5   for just a second, that it would be speculative of
 6   immediately the proceeds from that sale rather than     6   me to determine what other securities they wanted.
 7   sitting on the cash?                                    7                But if they were to reinvest in
 8       A. Yes, you absolutely do that. That                8   the same securities, it's most reasonable they would
 9   happens on a regular basis.                             9   have set that cash aside in the beginning of
10       Q. And as we went through, First Western did       10   December, knowing that there is potential for that
11   it on a regular basis in the Fleck accounts, right?    11   equity to decline in December. They would want to
12       A. Yes, they did.                                  12   preserve that and reinvest after the 30 days for the
13       Q. Okay. But for purposes of your analysis,        13   wash-sale rules.
14   you have assumed that instead First Western would      14             MR. BEYER: Okay. I'm going to move
15   have sat on the cash instead of reinvesting, right?    15   to strike that as nonresponsive to my question.
16       A. Under the wash-sale rules, yes, I have.         16       Q. Isn't it true that you're well aware that
17             MR. BEYER: Well, I move to strike            17   it would be consistent with the wash-sale rule to
18   the portion of that that's not responsive to my        18   either sit on the cash for 30 days or immediately
19   question.                                              19   reinvest the proceeds in a substitute security, and
20       Q. That's not under the wash-sale rules that       20   that --
21   they did that. Under the wash-sale rules they could    21       A. And I said yes, that's a possibility.
22   either reinvest in a substitute security immediately   22       Q. Okay. However, even though both of those
23   or sit on cash. Either one of those would be           23   are possibilities and both of those would comport
24   consistent with the wash-sale rule, right?             24   with the wash-sale rules, you have chosen to assume
25       A. My assumption is that they were going to        25   that First Western would have stayed in cash rather

                                                                              30 (Pages 114 to 117)
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 1   than reinvesting in substitute securities, right?       1   for a 30-day period of time. It was going to be
 2       A. I have, and I've stated that multiple            2   reinvested at this level of investment, the
 3   times today.                                            3   1.1 million.
 4       Q. And that's true even though First                4      Q. So you're assuming that they would
 5   Western, based on the statements you've looked at,      5   have -- that First Western would have done something
 6   never sold, captured losses in the Fleck portfolios     6   that empirically and historically in the Fleck
 7   and held it in cash, right?                             7   accounts they had never done, right?
 8       A. They never took advantage of wash-sale           8      A. I am.
 9   rules, that's correct.                                  9      Q. And you're assuming that they would not
10       Q. No, that's not what I asked you.                10   have done what empirically and historically they had
11                They never held it in cash when           11   done in prior months to the Fleck accounts, right?
12   they collected losses in those accounts, did they?     12      A. I am -- that's correct. Because for the
13   I'm not asking about the wash-sale rule. I'm asking    13   wash-sale, and it's clear, my testimony is that they
14   just a factual question. Isn't it true that they       14   would have sold, set it aside in cash. Because for
15   never sat on cash when they sold loss positions in     15   me to determine what they would have invested in
16   the Fleck accounts?                                    16   would be speculative.
17       A. That's not true. Just it's not feasible         17      Q. And that -- that is the only reason that
18   for them to not sit on cash, to immediately transfer   18   supports your decision to assume that First Western
19   it over. They would sell, and then as you observed     19   would have sat on cash, is that for you to figure
20   in the statements, within days there was               20   out what they would have substituted instead would
21   reinvestment.                                          21   be too speculative for you to do, right?
22       Q. Okay.                                           22      A. I think there's a combination of events
23       A. Where did that money go in the meantime,        23   that lead to that decision. But that's certainly
24   that would be in cash.                                 24   one of them, is that for me to assess where they
25                But no, they did not sit on cash          25   would have reinvested.

                                             Page 120                                                    Page 121
 1                 They were not being asked to do           1       Q. But that's an assumption you're making,
 2   anything other than take advantage of the wash-sale     2   that the client made that instruction. You don't
 3   rules here, to take advantage -- harvest those          3   know whether that happened independently of the
 4   losses. There was no indication in the information      4   facts in this case, do you?
 5   that Mr. Fleck wanted different securities. And so      5       A. Yes. If you were to ask me if I'm
 6   I think it's reasonable to assume that he would have    6   assuming that he gave that directive, yes.
 7   wanted them to harvest those losses, reinvest in the    7       Q. Now, you keep talking about taking
 8   same securities.                                        8   advantage of the wash-sale rules. The wash-sale
 9                 I don't know their profile. I am          9   rules aren't something that you take advantage of,
10   here to assess the damages side, the liability side.   10   are they? Aren't it something that keeps you from
11   What First Western should have done is outside of my   11   doing something that you otherwise would like to do?
12   testimony.                                             12       A. Well, taking advantage of not getting in
13       Q. Okay. And -- and I'm starting to think          13   trouble with wash-sale rules. I mean, it's a waste
14   you're not very familiar with the wash-sale rules.     14   of time if you don't abide by them, if your intent
15   Do you think that you are or do you consider           15   is to reinvest in the same securities.
16   yourself an expert on the wash-sale rules?             16       Q. So the wash-sale rules are keeping you
17       A. I don't consider myself to be an expert         17   doing something you would rather do, which is to
18   in investment advisory. I am familiar with the         18   sell on day one and buy back the exact same security
19   wash-sale rules. I am a -- in my career I've           19   on day two and try to capture the tax losses.
20   prepared taxes, a lot of Schedule Ds, and dealt with   20   That's what you'd like to do, right? But wash-sale
21   this with high wealth clients.                         21   rules tell you you can't do that. You have to wait
22                 But as far as what First Western's       22   30 days, right?
23   philosophy is and the directive, I am not familiar     23       A. That's the IRS rules, yes, that's
24   with those between them and the client, other than     24   correct.
25   the client did direct them to harvest these losses.    25       Q. And what section of the code is that?


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                                             Page 122                                                    Page 123
 1      A. I don't have that memorized.                      1   December 3rd, 2018?
 2      Q. Okay. But it does not run afoul of the            2      A. Well, certainly we have all the trust
 3   wash-sale rules to sell a particular security,          3   statements that give us the month-end amounts of
 4   immediately invest in a similar security, and then      4   unrealized losses.
 5   after 30 days sell the similar security and buy back    5      Q. Did you consider using as the unrealized
 6   the original security, correct?                         6   loss number anything than the number on December
 7      A. That's not -- that's like a double                7   3rd?
 8   negative question. Yes, you can do that.                8      A. I did look at the November 30th amounts,
 9      Q. Thank you.                                        9   and I do discuss that in my report as far as
10               You are, however, assuming that            10   excluding certain securities that on December 3rd
11   First Western would not have done that. Instead        11   would have not had a loss, but as of November did
12   they would have sat in cash, right? Right?             12   have losses. And so there were, I believe, seven or
13      A. Yes.                                             13   eight securities that I excluded from my analysis
14      Q. Now, your opinion, in Opinion No. 1, is          14   because they did have losses prior to December 3rd,
15   that there were $128,000 roughly of unrealized         15   but on December 3rd they would not have had losses.
16   losses in the Fleck accounts as of December 3rd,       16   So I had that consideration.
17   2018, right?                                           17      Q. You reviewed the e-mail from Brittany
18      A. That's correct.                                  18   Dreher, I don't know how to pronounce that,
19      Q. What were the unrealized losses on               19   D-r-e-h-e-r, on April 22nd, 2019. That was the
20   December 10th?                                         20   source of your 28.43 percent tax rate, right?
21      A. I don't know. I did not calculate that.          21      A. Yes, I recall that.
22      Q. What were they on December 4th?                  22      Q. And you recall that in that e-mail she
23      A. I do not know. I did not calculate that.         23   says, she refers to the cost of not harvesting the
24      Q. Do you know what the unrealized losses in        24   roughly 585,000 of losses.
25   the Fleck accounts were on any day other than          25      A. I would -- it's been months since I've

                                             Page 124                                                    Page 125
 1   looked at that e-mail, so I would have to pull that     1   not harvesting -- harvesting the roughly 585,000 of
 2   up and confirm that.                                    2   losses in 2018." And then it goes on and talks
 3       Q. All right. Well, it's Bates No. 2382.            3   about the tax rate and do the calculation.
 4   The date is May 1, 2019. Actually, her e-mail is        4               And my question is simply: Did
 5   April 22nd, but the top e-mail in the chain is          5   you do anything to figure out what 585,000 number
 6   May 1.                                                  6   she was referring to?
 7       A. Give me a second.                                7      A. Sorry, I believe I have a -- a different
 8             MR. PODOLL: What was that number              8   document. I was just going to look at my footnote
 9   again?                                                  9   because I think the Bates reference on that was a
10             MR. BEYER: It ends in -- it's a              10   different reference. I don't know if it's a
11   First Western document ending in 2382.                 11   duplicate document. But that marginal capital tax
12             MR. PODOLL: Thank you.                       12   rate by Brittany was Bates ending in 773, so I don't
13       Q. Do you have that, Ms. Masten?                   13   know if the same granular data was on there.
14       A. I do not yet. I'm sorry, I'm looking for        14      Q. But does it have the same sentence, "The
15   it.                                                    15   cost of not harvesting the roughly 585,000 in losses
16       Q. All right. If this is going to take a           16   in 2018"?
17   lot of time, it's not important. I can ask you my      17      A. That's -- I'm still trying to find that
18   question without you having the document in front of   18   document.
19   you.                                                   19      Q. All right. My question is simply: I've
20       A. Yeah, I'm not finding 2382 quickly.             20   read it to you. It's in the e-mail. Did you do
21       Q. Okay. Well, you recall the e-mail               21   anything to consider where the $585,000 number came
22   because it's where you derive the tax rate from,       22   from?
23   right?                                                 23      A. I do remember looking at that, and that
24       A. Yes.                                            24   would have been something, again, that would have
25       Q. And I'll tell you it says, "The cost of         25   driven my questions to can I get a copy of the 2018


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 1   than reinvesting in substitute securities, right?       1   for a 30-day period of time. It was going to be
 2       A. I have, and I've stated that multiple            2   reinvested at this level of investment, the
 3   times today.                                            3   1.1 million.
 4       Q. And that's true even though First                4      Q. So you're assuming that they would
 5   Western, based on the statements you've looked at,      5   have -- that First Western would have done something
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10       Q. No, that's not what I asked you.                10   have done what empirically and historically they had
11                They never held it in cash when           11   done in prior months to the Fleck accounts, right?
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15   never sat on cash when they sold loss positions in     15   me to determine what they would have invested in
16   the Fleck accounts?                                    16   would be speculative.
17       A. That's not true. Just it's not feasible         17      Q. And that -- that is the only reason that
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20   in the statements, within days there was               20   out what they would have substituted instead would
21   reinvestment.                                          21   be too speculative for you to do, right?
22       Q. Okay.                                           22      A. I think there's a combination of events
23       A. Where did that money go in the meantime,        23   that lead to that decision. But that's certainly
24   that would be in cash.                                 24   one of them, is that for me to assess where they
25                But no, they did not sit on cash          25   would have reinvested.

                                             Page 120                                                    Page 121
 1                 They were not being asked to do           1       Q. But that's an assumption you're making,
 2   anything other than take advantage of the wash-sale     2   that the client made that instruction. You don't
 3   rules here, to take advantage -- harvest those          3   know whether that happened independently of the
 4   losses. There was no indication in the information      4   facts in this case, do you?
 5   that Mr. Fleck wanted different securities. And so      5       A. Yes. If you were to ask me if I'm
 6   I think it's reasonable to assume that he would have    6   assuming that he gave that directive, yes.
 7   wanted them to harvest those losses, reinvest in the    7       Q. Now, you keep talking about taking
 8   same securities.                                        8   advantage of the wash-sale rules. The wash-sale
 9                 I don't know their profile. I am          9   rules aren't something that you take advantage of,
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11   What First Western should have done is outside of my   11   doing something that you otherwise would like to do?
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16   yourself an expert on the wash-sale rules?             16       Q. So the wash-sale rules are keeping you
17       A. I don't consider myself to be an expert         17   doing something you would rather do, which is to
18   in investment advisory. I am familiar with the         18   sell on day one and buy back the exact same security
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21   this with high wealth clients.                         21   rules tell you you can't do that. You have to wait
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                                             Page 122                                                    Page 123
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 2      Q. Okay. But it does not run afoul of the            2      A. Well, certainly we have all the trust
 3   wash-sale rules to sell a particular security,          3   statements that give us the month-end amounts of
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 5   after 30 days sell the similar security and buy back    5      Q. Did you consider using as the unrealized
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22      Q. What were they on December 4th?                  22      Q. And you recall that in that e-mail she
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24      Q. Do you know what the unrealized losses in        24   roughly 585,000 of losses.
25   the Fleck accounts were on any day other than          25      A. I would -- it's been months since I've

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 1   looked at that e-mail, so I would have to pull that     1   not harvesting -- harvesting the roughly 585,000 of
 2   up and confirm that.                                    2   losses in 2018." And then it goes on and talks
 3       Q. All right. Well, it's Bates No. 2382.            3   about the tax rate and do the calculation.
 4   The date is May 1, 2019. Actually, her e-mail is        4               And my question is simply: Did
 5   April 22nd, but the top e-mail in the chain is          5   you do anything to figure out what 585,000 number
 6   May 1.                                                  6   she was referring to?
 7       A. Give me a second.                                7      A. Sorry, I believe I have a -- a different
 8             MR. PODOLL: What was that number              8   document. I was just going to look at my footnote
 9   again?                                                  9   because I think the Bates reference on that was a
10             MR. BEYER: It ends in -- it's a              10   different reference. I don't know if it's a
11   First Western document ending in 2382.                 11   duplicate document. But that marginal capital tax
12             MR. PODOLL: Thank you.                       12   rate by Brittany was Bates ending in 773, so I don't
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14       A. I do not yet. I'm sorry, I'm looking for        14      Q. But does it have the same sentence, "The
15   it.                                                    15   cost of not harvesting the roughly 585,000 in losses
16       Q. All right. If this is going to take a           16   in 2018"?
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18   question without you having the document in front of   18   document.
19   you.                                                   19      Q. All right. My question is simply: I've
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21       Q. Okay. Well, you recall the e-mail               21   anything to consider where the $585,000 number came
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25       Q. And I'll tell you it says, "The cost of         25   driven my questions to can I get a copy of the 2018


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 1   difficult to assess what you're asking. But in          1   these pooled equity funds. But I don't know if that
 2   general, those losses will offset on a short-term       2   was Mr. Fleck's decision to specifically sell
 3   basis gains, as that's kind of how you are              3   Anheuser-Busch or not. Maybe there is some evidence
 4   realigning portfolios.                                  4   that that was his decision. I don't know.
 5                But again, my specialty is not in          5       Q. In any event, Anheuser-Busch was not held
 6   investment strategy. I'm here to discuss the            6   long term. It was sold on February 6th, right?
 7   damages. I think Mr. Rulison would be better to         7       A. That's correct.
 8   answer issues on how that strategy works from a tax     8       Q. And the same is true with a number of
 9   perspective. Knowing that this is a long-term hold      9   other securities in the portfolios?
10   portfolio, there would just be a continued effort,     10       A. That's correct. But to your point, at
11   like the Flecks have had in the past, of having        11   the same time there was -- there was --
12   gains and you have losses, and you try to use those    12       Q. Ms. Masten, I'm asking you questions.
13   losses to offset the gains, which would result in a    13       A. -- a loss that would have offset
14   minimal amount on those subsequent transactions that   14   specifically Anheuser-Busch.
15   you're talking about, like the sale of                 15             MR. BEYER: And I move to strike all
16   Anheuser-Busch.                                        16   of that.
17      Q. Now, using Anheuser-Busch as an example,         17       Q. I am just asking you questions, and I
18   that was not a long-term hold, was it? Mr. Fleck       18   would appreciate it if you would just answer my
19   instructed First Western to sell that on February      19   question. I don't know why that's so difficult.
20   6th?                                                   20               A number of securities from this
21      A. I don't know what the directive on               21   portfolio were sold on February 6th and not held
22   February 6th was. I don't know how that date was       22   long term, right?
23   specific. But I do know that stocks were sold. I       23       A. Yes.
24   believe I read an e-mail from one of the advisors      24       Q. And you have not done anything to
25   saying we're going to sell these and enter into        25   consider what the actual tax burden on those sales

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 1   was by virtue of the hypothetical that you have in      1   from losses that they didn't have?
 2   your damage calculations of selling -- of selling on    2       A. I don't have granular detail. All I have
 3   December 3rd and rebuying on January 3rd and then       3   is the transcript, so I can't answer that question.
 4   these sales that actually happened on February 6th.     4       Q. Can you pull up the transcript? Do you
 5   You haven't considered the February 6th effect on       5   have that available?
 6   your damages, have you?                                 6       A. Yes.
 7       A. I have not assessed the tax implications         7       Q. All right. Isn't it true that the tax
 8   of the February 6th transactions, that is correct.      8   paid by the Flecks in 2018 was $774?
 9   Yes.                                                    9       A. That is true. Based on the transcript,
10       Q. And so to the extent that in your damage        10   yes. Well, that was the tax due, not -- you know,
11   scenario basis in these stocks was lowered, and then   11   they had carry forwards and they had pre-paids and
12   when sold in February resulted in additional tax,      12   extension payments. But the dollar amount of
13   that is something that you have not considered in      13   taxable amount on their income was 774.
14   your calculations, right?                              14       Q. And just to confirm that. If you look on
15       A. That is correct.                                15   the second page of the transcript near the bottom,
16       Q. Thank you.                                      16   there's a tax on income, less Social Security
17               Do you know what the number is, as         17   income, per computer, is $774, right?
18   of February 6th, that whether the Flecks were net      18       A. Yes. That's tax on 270,000 of gross
19   positive or net negative from a tax standpoint when    19   income, adjusted gross income.
20   you do consider the additional tax that was incurred   20       Q. That's pretty good. I wish I only had to
21   because of lowering the basis?                         21   pay that percentage of tax.
22       A. I do not have enough evidence to                22                All right. And if you look on
23   calculate that, so no, I do not.                       23   page 4, or the fourth page. It's not numbered, but
24       Q. How much in long-term capital gains did         24   the fourth page. You can see a total payments of
25   the Flecks have in 2018 that would have benefitted     25   $11,006, and the overage applied to the next year is

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 1   on the stocks, not on the other aspects of it.          1   total in a cash fund at 2 percent rather than find
 2               Your question was does it make              2   substitute equities that would be expected to
 3   sense if they were to put it in a lower return.         3   perform better than that?
 4   Well, they were getting 2.3 percent returns in cash,    4       A. I am not in a position to -- to give
 5   and that was similar to the returns they were           5   opinions on First Western's investment style.
 6   getting in some of those other funds outside of the     6   That's another expert is giving opinions on that
 7   direct stock securities.                                7   area.
 8       Q. My question, though, was isn't it true           8       Q. Okay.
 9   that what you are saying they should have sold were     9       A. I thought for purposes of my analysis, it
10   equities?                                              10   was reasonable to make that assumption.
11       A. That is true, yes.                              11       Q. It was reasonable to make the assumption
12       Q. Okay. And as between reinvesting in             12   that First Western would have put all the proceeds
13   similar equities and putting the money in cash,        13   of those sales of equities into a 2 percent cash
14   wouldn't the expectation be that being invested in     14   fund at a time when the client was complaining about
15   equities would have a better performance than being    15   the return on the portfolio?
16   in cash?                                               16       A. That that is the -- the one area that I
17       A. Generally, that's true. Yes.                    17   could do because it's, as we discussed, speculative
18       Q. Okay.                                           18   for me to determine where else they would have
19       A. Depending on what's going on in the             19   reinvested.
20   market and what the returns are at any given point     20                So yes, I, in my analysis and my
21   in time.                                               21   estimate, determined that's reasonable. Especially
22       Q. So at a time when the client is                 22   looking at their overall estimated returns on the
23   complaining about the returns in the portfolio, do     23   entire portfolio, that is a very similar 2.3 percent
24   you think it's reasonable to think that First          24   at the time.
25   Western would have placed 1 million of the 8 million   25       Q. Which is the return that the client was

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 1   complaining about, right?                               1   market upswing?
 2       A. Correct. But at least it wasn't going to         2       A. I don't remember that exact statement.
 3   decline, if it was in cash.                             3   The concept, I do recall.
 4       Q. Well, in that theory, shouldn't the              4       Q. And so why did you not assume that
 5   entire portfolio always be in risk-free investments,    5   Mr. Rulison's strategy would have been pursued by
 6   so that you can make sure that it never goes down?      6   First Western?
 7       A. No. You're mis --                                7       A. Because without specific information
 8       Q. You're not saying that, are you?                 8   about which securities would have been the
 9       A. You're misconstruing my comment. No, for         9   replacement investments, as I've said multiple
10   purposes of complying with this wash-sale event.       10   times, the potential economic impact on that, I
11       Q. I see. You read the Rulison report and          11   couldn't assess. But going to the returns that they
12   deposition; is that right?                             12   were getting on cash was something that I could
13       A. I did.                                          13   assess, and that was something that was not going to
14       Q. Actually, did you read the Rulison              14   be as speculative as me determining which
15   deposition?                                            15   investments they wanted to park the money in.
16       A. I reviewed it. I didn't read it in              16       Q. And you made that assumption even though
17   detail, so I don't have any of the discussion, as I    17   you were aware of the Fleck's own expert,
18   mentioned this morning, kind of memorized.             18   Mr. Rulison, who purports to be an industry expert,
19       Q. That's the one you received yesterday           19   stating that -- stating that this strategy would be
20   late afternoon, right?                                 20   an available strategy?
21       A. That's correct.                                 21       A. Well, I would have to look at Rulison's
22       Q. Okay. Do you remember Rulison stating in        22   specific statement to see in what context he was
23   his report that if a fund is sold to harvest the       23   making that statement.
24   loss, a similar fund could be simultaneously           24               But generally, there is also in
25   purchased to eliminate the risk of missing out on a    25   Rulison's report the concept of timing your gains

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 1       A. Or based on his deposition, that's               1   the effect would have been in terms of whether there
 2   correct.                                                2   were damages or no damages, right?
 3       Q. And you agree that they had multiple             3       A. That's not a scenario I ran, that's
 4   options as to what to do with the proceeds of those     4   correct.
 5   sales, right?                                           5       Q. All right. I want to ask you about
 6       A. Yeah. I agree that Mr. Fleck is stating          6   Opinions 4 and 5. Are 4 and 5 the same thing as 3,
 7   that he did not give them instructions on what to do    7   just using different measurement dates?
 8   with those proceeds.                                    8       A. I'm just pulling up my report again.
 9       Q. And that they had multiple options as to         9   Sorry. Give me a second.
10   what to do with the proceeds, right?                   10               So Opinions 3, 4, and 5 are all
11       A. Yes.                                            11   using different measurements. They're point-in-time
12       Q. Only one of which was to hold the funds         12   losses. And so when you look at Opinion 3, losses
13   in cash, right?                                        13   as of January 3rd, February 6th. Opinion 4 is
14       A. Yes.                                            14   February 6th. Those are just point-in-time losses.
15       Q. And you agree that Mr. Fleck didn't tell        15   It's not cumulative.
16   First Western which of those options to take. That     16       Q. Okay.
17   it was up to them, right?                              17       A. Per se.
18       A. That's what he states, correct.                 18       Q. That's what I wanted to get at. These
19       Q. And you know that previously when selling       19   are not to be added together. These are
20   positions with unrealized losses, First Western had,   20   alternatives, depending on which dates were picked?
21   in fact, reinvested and not sat on cash, right?        21       A. That's correct. And that's why they're
22       A. That's correct.                                 22   kind of, like, italicized and marked off, separated
23       Q. And had First Western, instead of holding       23   out on the summary table.
24   it in cash, reinvested promptly in substitute          24       Q. All right. That's what I wanted to know.
25   securities, you have no basis for opining on what      25   All right. Now I want to ask you about exhibit --

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 1   or Opinion 6, shortcoming of portfolio performance.     1       Q. So are you yourself deciding that or
 2                I think we established earlier             2   opining that S&P and the IPS expected returns are
 3   that you don't have expertise in portfolio              3   appropriate benchmarks, or are you taking those as a
 4   management, right?                                      4   given from somebody else and then just calculating
 5      A. That's correct.                                   5   the numbers using those benchmarks?
 6      Q. So why are you purporting to give an              6       A. I'm calculating a range that would be
 7   opinion that the performance of the portfolio was       7   something that is used by the trier of fact based on
 8   less than it should have been?                          8   other testimony that's given. And so on the lower
 9      A. I was asked to look at what the                   9   end I'm using the 5.4 percent, which is the S&P 500
10   benchmarks were and what was included in the           10   returns. And on the upper end, the amount that was
11   investment portfolio statement -- or the investment    11   stated in the IPS as far as the 6.48 percent. Just
12   policy statement, and then determine given the         12   to give a range, so if it was determined by the
13   expectations of the parties investing -- you know,     13   trier of fact that this was relevant and it was a
14   they could have -- if they just wanted S&P 500, they   14   damage that needed to be quantified, that these are
15   didn't need First Western to do that for them. They    15   my numbers.
16   were looking for higher returns.                       16                 And so in coming up with, you
17                And so given the information that         17   know, what would be my benchmarks for the ranges, I
18   was in the IPS and basic benchmarks that had been      18   looked at what the other experts had discussed in
19   discussed by the other experts, Mr. Reidy and          19   their reports regarding benchmarking. And so that's
20   Mr. Rulison, given those, you know, metrics and the    20   where the S&P 500 was discussed multiple times,
21   percentages that were included in the IPS, generally   21   numerous times. As benchmarking discussion of
22   speaking, you know, what -- I was asked to kind of     22   expected range of returns of 5 to 6 percent was a
23   account for and quantify what those losses were        23   lot, in a lot of testimony and reports, and then the
24   based on the expectation versus what they actually     24   IPS itself had the 6.48 percent and there was some,
25   achieved.                                              25   you know, range references based over years. So I


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 1   felt that in order to put out something, these two      1   seems a reasonable range to me, so that was me
 2   kind of bookends would be a reasonable range of         2   picking those based on their reports and their
 3   expected returns.                                       3   testimony.
 4                So I'm not giving opinions on              4       Q. All right. So you picked the S&P as an
 5   investment policy and, you know, performance and        5   appropriate benchmark?
 6   what should have been done in that respect. That's      6       A. Yes.
 7   other experts. But I am quantifying it based on         7       Q. And you picked the IPS expected return
 8   what has been put out in their opinions.                8   number as a reasonable benchmark?
 9       Q. All right. Do you want to hear my                9       A. Yes.
10   question again? That had nothing do with my            10       Q. And then you calculated the difference
11   question. That whole long speech had nothing to do     11   between actual performance at each of those
12   with my question. Do you want to hear it again or      12   benchmarks?
13   should I ask it again?                                 13       A. Yes. Between -- of -- of what actually
14       A. Please ask it again.                            14   occurred in a portfolio versus what those expected
15       Q. Okay.                                           15   returns would have been.
16                Did you pick the benchmarks of the        16       Q. So you picked those benchmarks even
17   S&P and the IPS expected return number, or did         17   though you've already said that you're not an expert
18   somebody else pick those and then you just             18   in identifying what benchmarks are appropriate for
19   calculated based on those?                             19   investment portfolios, right?
20       A. So I will repeat. I looked at all that          20       A. I did. That's why I'm relying on
21   information. I looked at the range. I selected the     21   Mr. Rulison and Mr. Reidy's testimony and the
22   upper and lower bounds of that, but I am not           22   information that was provided in the IPS.
23   supporting those as upper and lower bounds. That is    23       Q. I thought you said that you picked those
24   someone else's opinions as far as whether those are    24   benchmarks?
25   reasonable. But those would be the range. That         25       A. I did, but those are documented and

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 1   memorialized in those reports, depositions, and         1   recalculating. But I was trying to give a range for
 2   documents.                                              2   any decisions that needed to be made.
 3       Q. Find me a place where Mr. Reidy said that        3       Q. Okay. My question was much different
 4   an appropriate benchmark to use against the actual      4   from that, not surprisingly.
 5   performance in the Fleck portfolios is the S&P 500.     5                I asked you is the number of times
 6       A. Mr. Reidy does not have a specific               6   that Mr. Reidy referred to the S&P 500 in his report
 7   statement on that, but he does reference and            7   a basis, in your mind, for using that as a benchmark
 8   illustrate multiple times -- I have a footnote.         8   for the performance of the Fleck accounts? Just for
 9   Give me a second.                                       9   the --
10       Q. Ms. Masten, are you saying that the             10       A. (Simultaneous speaking).
11   number of times somebody refers to the S&P 500 is      11       Q. -- fact that -- just the number of times
12   somehow a basis for concluding that it is an           12   he mentions it in his report?
13   appropriate benchmark in this case?                    13       A. The sheer number of times is not as
14       A. I'm not, and I wasn't finished with my          14   relevant as the focus.
15   first response.                                        15       Q. Okay. And where in his report did he say
16               But I'm -- I'm stating that given          16   anything to the effect that an appropriate benchmark
17   my task to estimate damages, that a reasonable         17   to measure against the actual Fleck portfolio
18   expectation would be what are the returns in the       18   performance is the S&P 500?
19   market, the broader market, and a specific             19       A. As I've stated, he does not have a
20   expectation would be what was in the contract          20   specific statement to that. Otherwise, I would have
21   between the plaintiffs and the defendants.             21   cited that statement in my report as a basis for
22       Q. I'm asking you --                               22   using it.
23       A. And if it's determined that it's a              23       Q. Okay. Anything even to the effect of
24   different -- sorry. If it's determined that it's a     24   that? Even if he doesn't have a direct declarative
25   different benchmark, then I would have no problem in   25   statement to that effect, anything that's even close

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 1   to suggesting that an appropriate benchmark to          1   performance of a diversified portfolio like the
 2   compare against the actual performance of a             2   Flecks'? Where is that in your report?
 3   diversified portfolio like the Flecks' is the           3       A. I do have a citation of Footnote 15 that
 4   S&P 500 Index?                                          4   refers to both Mr. Reidy and Mr. Rulison and their
 5       A. I'm sorry, I would have to go back to be         5   discussions; Mr. Rulison's referring to a range of
 6   fully responsive to your question, because you're       6   expectations between 5 and 6 percent, Mr. Reidy's
 7   very sensitive to that. I would have to go back to      7   report, using illustrations throughout his report
 8   either one of his reports.                              8   based on the S&P 500. So there's no direct
 9       Q. The report that you prepared, which is           9   statement, but these are implications of
10   supposed to be a full disclosure of your opinions      10   expectations of returns of a portfolio that's fully
11   and the bases for them, do you identify anywhere in    11   diversified in the public market.
12   your report where you cite to anything from            12       Q. You don't provide us any information at
13   Mr. Reidy to the effect that the S&P 500 Index would   13   all where it is in these reports or testimony that
14   be an appropriate benchmark to use against the         14   you interpret as saying that they think that an
15   performance of an actual -- of a diversified           15   appropriate benchmark to use against the actual
16   portfolio like the Flecks'? Where is that in your      16   performance of the Flecks' portfolio is the S&P 500,
17   report?                                                17   do you?
18       A. I don't have -- I don't have that in my         18       A. Well, their reports are totally focused
19   report, as I stated. If there was a statement like     19   on the Flecks. And as I stated, maybe this is the
20   that, I would have cited it.                           20   fourth time, there's no specific sentence that says
21       Q. How about same with Mr. Rulison. Where          21   that that should be the benchmark. But their
22   in your report do you disclose to us anything about    22   illustrations and their discussion is all
23   Mr. Rulison's report or testimony that you think       23   surrounding the S&P 500 and expectations of 5 to
24   provides that in his opinion the S&P 500 is an         24   6 percent.
25   appropriate benchmark to use in measuring the          25       Q. Now, does it make sense to you that --

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 1   well, let me withdraw that.                             1      A. That's correct.
 2               What is the S&P 500 Index?                  2      Q. And in the IPS, how much of the portfolio
 3      A. It is an index that's been around for             3   was targeted to be invested in large cap US
 4   decades, that tracks the top 500 individual             4   equities?
 5   corporations in the market. Those corporations          5      A. Sorry. I'm just pulling up the IPS. My
 6   change, and it's all based on market cap. So it's       6   computer is slow. So the minimum is zero percent,
 7   not on a value basis. You know, market cap is the       7   the target is 13 percent, and the max is 28 percent.
 8   one measure of size. And so it tracks the S&P,          8      Q. And what kind of risk tolerance do the
 9   those 500 companies and their performance over time.    9   Flecks' IPS provide for?
10               And generally there's indices that         10      A. And that -- so this is page 5 of the IPS.
11   track them over the years. But specific companies      11   The heading above that is "Holding Limits and Ranges
12   that are involved in the 500 mix change over time as   12   for Moderate."
13   they, you know, maybe fall below the market cap or     13      Q. And if you look on page 2, it
14   they have a new entrant into the market.               14   specifically says "Moderate," right?
15      Q. These are all US companies, right?               15      A. Long-term strategic portfolio allocation
16      A. In the S&P 500, generally, yes. There            16   is moderate; is that correct.
17   are some foreign corporations who operate here in      17      Q. So this was not intended to be a
18   the US, out of the US. But generally these are --      18   high-risk, high-yield kind of a portfolio, was it?
19   we're not looking at Dimer (ph).                       19      A. Well, the stated expected target of
20      Q. These are large cap US stocks, right?            20   6.48 percent is a pretty high return. And when we
21      A. Yes.                                             21   look at companies and we look at risk and return
22      Q. And that is an asset class in a                  22   rates, they're kind of tied in some way.
23   diversified portfolio, including the Flecks'           23                So the -- what is -- what was to
24   portfolio. Large cap US stocks is one of the asset     24   me, when I was looking at this based on my knowledge
25   classes, correct?                                      25   of cost to capital and the markets and sizes and


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 1   different asset classes, is that with this mix, it      1   expressed in this IPS, is the -- is a 100 percent
 2   would be almost impossible to achieve those returns     2   investment in S&P 500 Index. Is that what you're
 3   with only, say, a 13 percent investment in those        3   saying?
 4   large cap equities.                                     4       A. Those are not my opinions.
 5      Q. But again, you're not an expert in                5                 But based on ranges of returns
 6   portfolio management, are you?                          6   that are stated in the IPS, that their target is
 7      A. I am not. And that's why that's not the           7   6.48 percent, that the capital objective it 500,000
 8   area of opinions that I'm providing in this case.       8   a year on an $8 million investment, that they have
 9      Q. But you do know, as a matter of fact from         9   different allocations in here. Then yes, in order
10   reading this, that the risk tolerance for the Flecks   10   to look at what the possible ranges are, we look at
11   was agreed by them and First Western to be moderate,   11   the mix, and I've done this in my analysis.
12   right?                                                 12                 What is problematic is there's
13      A. That is stated in this IPS, that's               13   inconsistencies in the IPS itself, and so that's
14   correct.                                               14   where I come up with my S&P 500 as a low end and the
15      Q. And you understand the IPS is an                 15   stated expected target return of 6.48 percent as the
16   agreement between the Flecks and First Western, as     16   high end.
17   to how their portfolio -- portfolio will be managed,   17       Q. As usual, that does not answer my
18   right?                                                 18   question, so I'm going to ask it again.
19      A. Of course.                                       19                 Are you saying that you think
20      Q. Okay. It's even signed by both Flecks            20   in -- that it's fair to compare a Fleck asset class
21   and First Western, isn't it?                           21   agreement, as set forth here in the IPS, against
22      A. Yes, it is.                                      22   the performance of a 100 percent investment in the
23      Q. So you think that a fair benchmark               23   S&P 500?
24   against a moderate risk tolerance portfolio, with      24       A. I do not. That's why I talk about --
25   the asset class targets minimums and maximums          25             MR. PODOLL: Objection.

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 1       A. -- the inconsistencies in --                     1   these asset classes and find a suitable benchmark
 2            MR. PODOLL: Objection. Form.                   2   for each?
 3       Q. If you can answer my question.                   3       A. To do what? Because I have multiple
 4               You do not, right? You do not               4   analyses. So specific to which opinion?
 5   think that's a fair comparison?                         5       Q. Well, why -- well, we're in Opinion
 6       A. I do not, and this is not the area of my         6   No. 6. And you're saying that First Western
 7   opinions. This is -- these are not opinions that        7   performed inadequately. It underperformed, right?
 8   I'm giving in this case. I am using these as            8       A. Yes.
 9   benchmarks. And it's up to other experts to defend      9       Q. Okay. And so one of the comparisons you
10   whether or not these expectations were reasonable,     10   say is, well, if they had just invested in the
11   what the investment policies were. I am using the      11   S&P 500, 100 percent of the portfolio, they would
12   investment policy statement as a guide.                12   have returned a different amount, right?
13       Q. Okay. But you testified, though, that           13       A. Right. And I previously stated that
14   you're the one who selected the S&P as one of the      14   if --
15   benchmarks, right?                                     15       Q. No, I just need an answer. I just need a
16       A. I did because in the year with the              16   yes or no. I don't need you to go on explaining.
17   returns of 5.4 percent, that fits pretty evenly        17   Just answer my question, please.
18   within the 5 to 6 percent expected returns range of    18               That's what you did, right?
19   the entire portfolio.                                  19       A. Can you please repeat your question or
20       Q. How would anybody have known that going         20   have it read back to me?
21   into 2018, how the S&P would perform?                  21       Q. Yeah.
22       A. It was an unknown.                              22               You --
23       Q. All right. Now, why didn't you, in order        23             MR. BEYER: Leeann, why don't you go
24   to find appropriate benchmarks to compare against      24   ahead and read it back.
25   First Western's performance, go through each of        25               (Record read.)

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